Case 2:10-cr-02124-LRS Document 140 Filed 10/21/13

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Eastern District of Washington sem,=_ M°Am GLF_RK
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Petition for Warrant or Summons for Offender Under Supervision
Name of Offender: Travis Shane Bames Case Number: 0980 2:10CR02124-001
Address of Offender:

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Name of Sentencing Judicial Officer: The Honorable Lonny R. Suko, U.S. District Judge

Date of Original Sentence: September 20, 2001

Original OH`ense:

Original Sentence:

Asst. U.S. Attorney:

Dcfense Attorney:

Conspiracy to Distn`bute a Controllcd Substance, 21 U.S.C. §§ 841 (b)(l)A and 846

 

 

 

Prison 84 months Type of Supervision: Supervised Release

TSR - 60 months

Alison Gregoire Date Supervision Commenced: June 2, 2013

Rick Lee Hoffman Date Supervision Expires: June l, 2015
PETlTIONING THE COURT

To issue a warrant

The probation officer believes that the offender has violated the following condition(s) of supervision:

Violation Number

1

Nature of Noncompliance

Mandatogy Condition #4: 'I`he defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as directed by the
probation ofticer.

Supgorting Evidence: Travis Bames used methamphetamine on or about September 24,
201 3.

On September 24, 2013, Mr. Barnes reported to the U.S. Probation Office, at which time a
sweat patch was applied on his person. On September 30, 2013, the sweat patch was
removed and sent to Clinical Reference Labotatory (CLR) for testing. On October ll,
2013, test results revealed the sweat patch had tested positive for methamphetamine

Standard Condition #3: The defendant shall answer truthfully all inquiries by the
probation officer and follow the instructions of the probation officer.

Sugporting Evidence: Travis Bames failed to report to his supervising probation officer,
as directed on October 15, 2013.

 

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On October 15, 2013, the defendant appeared in Court for his Sobriety Treatment and
Education Program (STEP) session. During the session, the defenth was given the option
of being terminated from the program or serving a 7-day jail sentence and following through
with a 9-month inpatient treatment program, due to a recent positive drug test. Mr. Bames
was directed to meet with his supervising probation officer after the session, at which time
he was to provide a response. Aiier the session, he requested permission to speak with his
mother for a few minutes before meeting with the undersigned officer. Although the
defendant was given permission to speak with his mother, he instead chose to walk out of
the l-`ederal building and abscond &om supervision.

Standard Condition #6: The defendant shall notify the probation officer at least ten days
prior to any change in residence or employment

Supporting Evidenee: Travis Bames changed his residence on October lS, 2013, without
notifying his supervising probation officer.

On October 18, 2013, contact was made with the dcfendant’s parents, who advised they had
not seen or heard from him since October 15, 2013, and did not know of his current
whereabouts.

Standard Condition #3: The defendant shall answer truthfully all inquiries by the
probation officer and follow the instructions of the probation officer.

 

Supp_grting Evidence: Travis Bames failed to maintain compliance with his home
confinement program as directed by his supervising probation officer.

On September 17, 2013, Mr. Bames reviewed and signed a location monitoring agreement
form agreeing to maintain compliance with his home confinement program. 011 October 15,
2013, the defendant failed to return to his listed residence prior to his curfew start time of
2:30 p.m.

Special Condition #14: You shall undergo a substance abuse evaluation and, if indicated
by a licensed/certified treatment provider, enter into and successfully complete an approved
substance abuse treatment program, which could include inpatient treatment and attercare.
You shall contribute to the cost of treatment according to your ability to pay. You shall
allow full reciprocal disclosure between the supervising officer and treatment provider.'

Suppnrting Evidence: Travis Bames failed to attend his aftercare treatment sessions at
Merit Resource Services on October 15, 16, and 17, 2013.

On October 18, 2013, contact with the defendant's treatment counselor revealed the
defendant failed to show for his group counseling sessions on the above-mentioned dates.
Additionally, his counselor advised that his treatment file would be closed based on his
noncompliant behavior.

The U. S. Probation Ofiice respectfully recommends the Court issue a warrant for the arrest of the defendant to

answer the allegations contained m this petition.

 

 

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1 declare under penalty of perjury that the foregoing is tme and correct
Executed on: 10/21/2013
lose Vargas
Jose Vargas
U.S. Probation Ofiicer
THE COURT ORDERS
[ ] No Action

[>{ The Issuance of a Warrant
[ ] The Issuance of a Summons
[ ] Other

 

 

 

